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                            UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                                 SAN FRANCISCO DIVISION

RICHARD KADREY, et al.,                            Case No. 3:23-cv-03417-VC

       Individual and Representative Plaintiffs,
                                                   ADMINISTRATIVE MOTION TO MODIFY
  v.                                               STIPULATION AND ORDER RE
                                                   SCHEDULE
META PLATFORMS, INC.,

                                    Defendant.


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        Pursuant to Civil Local Rule 6-3, Plaintiffs respectfully submit this Administrative Motion

to Modify the Stipulation and Order re Schedule, Dkt. 238, by extending the deadline for “Letter

Briefs re: Existing Written Discovery” from October 23, 2024, to November 6, 2024. No other

deadlines will be impacted.

                                     I.      BACKGROUND

        On October 11, 2024, the parties submitted a stipulated proposed order with case

management deadlines. Dkt. 227. One of those proposed deadlines was October 23, 2024, for

letter briefs regarding existing written discovery. The Court endorsed the stipulation on October

24, 2024, after the proposed October 23 deadline had already passed. Dkt. 238. Over the several

weeks leading up to those dates, Plaintiffs diligently informed Meta of, and sought to meet and

confer on, numerous deficiencies in Meta’s existing written discovery and document productions,

including Meta’s failures to:
    1) identify potentially relevant witnesses and potentially relevant non-custodial data sources; 1
    2) offer a date certain by which it will exchange search terms and hit counts as required by the
       ESI Order;
    3) provide a date certain by which it will amend interrogatory responses;
    4) provide a date certain by which it will correct productions of improperly-imaged documents;
    5) respond to Plaintiffs’ requests concerning abnormally low production counts for certain
       document custodians;
    6) review and produce all relevant/responsive hyperlinked documents in its productions;
    7) add document custodians requested by Plaintiffs (critical in light of Meta’s position that it


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  Meta’s failure to do so is particularly prejudicial given its position that it may refuse to produce
known, relevant documents in systems that may contain discoverable ESI (like email) on the
basis that the documents are not in the custodial files of one of their 10 custodians (now 15 after
Judge Hixson ordered Meta to add five more on October 4th, though to date Meta has not
produced anything from their files). That is contrary to law and the ESI order in this case. See,
e.g., Strategic Partners, Inc. v. FIGS, Inc., No. 19-CV-2286-GW (KSX), 2020 WL 2527056, at
*6-7 (C.D. Cal. Feb. 6, 2020) (defendant “impermissibly truncated the scope of its search for
responsive information” by limiting its custodians because the “reasonable inquiry” required
under Rule 26 must include, “at a minimum, a reasonable procedure to distribute discovery
requests to all employees and agents of the [party] potentially possessing responsive
information”) (emphasis in original); Dkt. 101, § 7(d) (“Specific, non-duplicative ESI that is
identified by a party as responsive to a discovery request shall not be withheld from review or
production solely on the grounds that it was not identified by (or is subject to an exclusion set
forth in) the protocols described in, or developed in accordance with, this Order.”) (emphasis
added); see also N.D. Cal. ESI Guideline 2.01(e); N.D. Cal. ESI Checklist, §§ 1, III (requiring
parties to, inter alia, describe all “systems in which potentially discoverable information is
stored,” and not limiting a party’s obligation to identify and search systems including “email” to
custodians).
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      is not obligated to search for or produce responsive documents in systems with potentially
      discoverable ESI like email unless they are part of a designated document custodians’ files)
      (see n. 1, supra);
  8) respond to discovery concerning the entire relevant time period, i.e., the class period;
  9) search for and produce documents/data relating to all Llama models, including Llama 4;
  10) produce all responsive pull requests and relevant source code for all Llama models;
  11) produce all copies of all datasets with copyrighted works that Meta downloaded;
  12) agree to Plaintiffs’ request to enlarge the numbers of interrogatories the Parties may serve;
      and
  13) respond to a request to shorten the time to serve objections and responses to 21 days.

See Ex. A (October 28, 2024, Proposed Stipulation).

         To avoid burdening the Court with 13 or more letter briefs on each of the Parties’ disputes,

Plaintiffs diligently sought to meet and confer with Meta to resolve as many of these issues as

possible. Meta proved unwilling to engage, and delayed setting forth its positions. The record is

as follows:

               Plaintiffs send to Meta: (1) deficiency letter following up on pending/existing
 10/9          discovery issues and (2) additional letter addressing future discovery, requesting
 Exs. B, C     a time on October 11 to confer on the issues.
               Meta states it will “provide substantive responses early next week” and it is
 10/10         “prepared to confer shortly thereafter.” Plaintiffs propose October 16 in the
 Ex. D         morning.
               Plaintiffs proposed the deadline of October 23 to Meta as part of an effort to
 10/11         “codify a limited subset of additional deadlines” “in order to facilitate discovery
 Ex. E         moving forward expeditiously.”
 10/15         Meta sends issues related to its “existing [affirmative] written discovery,” and
 Ex. F         requests to add them to scheduled next-day meet-and-confer.
               Parties meet and confer concerning Plaintiffs’ October 9 Deficiency Letters.
 10/16         Plaintiffs ask Meta to respond to outstanding issues no later than October 18.
               Plaintiffs send meet and confer summary to Meta, noting that they had requested
 10/18         a response on outstanding issues by that same day and also identifying “issues on
 Ex. G         which the parties are at an impasse . . . to brief for filing on October 23.”
               Plaintiffs, without objection from Meta, contact Judge Hixson’s chambers
 10/22         requesting a hearing.
         Once it became clear that Meta simply refused to resolve its many deficiencies in existing

written discovery prior to October 23, 2024, Plaintiffs on October 21 informed Meta: “we must

preserve our rights (and avoid prejudice from any further delay in resolving discovery

disputes) by teeing up such issues for the Court’s consideration.” Ex. H. Plaintiffs conveyed

this message even though the Court had not yet entered an order establishing October 23 as a

deadline for letter briefing on existing written discovery. Plaintiffs requested that Meta confirm it

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“will not object to our contacting chambers to arrange a telephonic conference, as provided in

Judge Hixson’s standing order.” Id. Meta responded, after business hours, that it “do[es] not

object to [Plaintiffs] contacting Judge Hixson’s chambers to request a telephonic conference.” Id.

         The requested telephonic conference stood to resolve most outstanding discovery disputes

and to include a discussion of page limits and filing dates for any remaining dispute(s). Without

first having this hearing, filing letter briefs would have resulted in unnecessary expenditure of

party and judicial resources. Thus, Plaintiffs diligently pursued the telephonic hearing.

         On October 22, Plaintiffs called Judge Hixson’s Courtroom Deputy, per his Standing

Order, and left a voicemail requesting a telephonic conference to address existing discovery

issues. 2 Ex. I. The same day, the parties also conferred regarding Meta’s existing written

discovery disputes. Plaintiffs’ subsequent emails to Judge Hixson’s Deputy, on October 23 and

October 25, also copied Meta, and in neither instance did Meta assert the issues teed up for the

hearing could no longer be briefed. Id.

         Notably, on October 25, Meta also sent their memorialization of the October 22 meet-and-

confer concerning Meta’s existing affirmative discovery disputes, and requested that “[f]or any

outstanding issues, please confirm Plaintiffs’ position by Tuesday October 29th, or we will assume

that the parties are at an impasse.” Ex. J (emphasis added.) In other words, Meta took the position

that its own asserted disputes over existing written discovery remained live after October 23.

         Because no telephonic hearing had been scheduled by October 28, Plaintiffs proposed to

Meta (1) a joint administrative motion to request a briefing schedule and page limits to address

outstanding discovery disputes on both sides, and (2) enlisting a discovery referee/special master.

Ex. A.

         Despite the foregoing history, Meta responded the same day by stating, for the first time,

that the “issues you have been attempting to raise in a conference with the Court, and that you now



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  On the same day (October 22), Plaintiffs drafted a status report that included a request for a court
conference on the written discovery disputes. Meta demanded that the request be removed because
it “does not belong in this document.” Pritt Decl., Ex. K. Plaintiffs acceded to Meta’s demand.
See Dkt. 237.
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have proposed as part of your stipulation, all were subject to the October 23 letter briefing

deadline.” Ex. L. At the same time, however, Meta has continued to try to tee up what it alleges

are deficiencies in Plaintiffs’ existing written discovery responses for briefing and decision. Exs.

J, H. On October 29, Plaintiffs sent a follow-up email (again copying Meta) and left another

voicemail with Judge Hixson’s Courtroom Deputy concerning their October 22 request. Ex. I.

                                      II.    ARGUMENT
          A. Plaintiffs Have Acted Diligently and Raised Issues Timely—Their Disputes Are
             Not Waived.
          Pursuant to this Court’s orders and the general discovery obligations on all parties,

Plaintiffs diligently and repeatedly sought to resolve disputes over Meta’s discovery responses and

conduct. Meta refused to do so, right up until the proposed (that is, not yet ordered) deadline for

letter briefing. Once that proposed deadline was upon the parties, Plaintiffs, in accordance with

Judge Hixson’s Discovery Standing Order, timely requested, on October 22, 2024, a telephonic

hearing to clarify which disputes required formal briefing and which could be resolved by phone.

Pritt Decl. ¶ 3. Without this guidance, filing a joint letter brief on each of the parties’ many disputes

would have resulted in unnecessary briefing and wasted party and judicial resources in a fast-

moving, important case.

          Meta now seeks to leverage its own delays in responding to Plaintiffs to evade judicial

oversight over its discovery deficiencies. But given the timely raising of issues to Judge Hixson,

there is no basis upon which Meta can claim waiver. See, e.g., Cleveland v. Ludwig Inst. for

Cancer Rsch. Ltd., 2022 WL 959598, at *9 (S.D. Cal. Mar. 30, 2022) (holding that there was no

waiver of a discovery dispute deadline where the movant followed the Court’s Civil Chamber

Rules).

          B. Plaintiffs Have Good Cause To Extend the Deadline for Briefing, and Meta Can
             Show No Prejudice.
          Plaintiffs, as outlined above, have acted diligently and timely sought to raise their concerns.

Absent an extension, Plaintiffs will be forced to litigate with an underdeveloped record, a record

that Meta intentionally sought to constrict. That is enough to satisfy Plaintiffs’ burden to show

good cause.
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        To the extent that the Court balances Plaintiffs’ showing of good cause with any potential

prejudice to Meta, it will find no such prejudice given the modest request and the ability for Meta

to respond in due course to the various issues raised by Plaintiffs regarding its discovery responses.

Meta indeed has raised no such prejudice in its correspondence or in a meet-and-confer concerning

the requested 14-day extension of the deadline for filing letter briefs on existing written discovery.

Pritt Decl. ¶ 6.

        C. Plaintiffs Request That the Court Consider Appointing a Discovery Referee.

        Plaintiffs believe a Discovery Referee could aid the Parties in resolving their many written

discovery disputes, both pending and anticipated, in an expeditious manner and within the time

remaining in fact discovery. The Court is empowered to appoint referees under Rule 53 of the

Federal Rules of Civil Procedure, and Plaintiffs have confirmed the availability of Daniel Garrie

of JAMS to serve as referee in this matter. Pritt Decl. ¶ 7. Mr. Garrie is a distinguished mediator

who is known to this Court due to prior appointments as a discovery referee. His appointment

would be especially useful here, where the parties are unable to agree on discovery procedures.

His appointment also would prevent one side from gaming deadlines or attempting to run out the

clock, and ensure that discovery disputes do not derail critical case timelines. See Mardiros v. City

of Hope, 2020 WL 6106820, at *2 (C.D. Cal. July 9, 2020) (“The fact remains that discovery thus

far in this case has been extensive and contentious, and neither the District Judge nor the Magistrate

Judge assigned to the case will be able to effectively and timely address the Parties' Anticipated

Discovery Disputes.”).

                                      III.    CONCLUSION

        Meta seeks an outcome inconsistent with the Court’s desire that the Parties develop a

proper record in this important case. Accordingly, Plaintiffs respectfully request that the Court

modify the stipulated deadline for letter briefs re: existing written discovery as set forth in the

proposed order.




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                                                   Dated: October 29, 2024

                                                   By: /s/ Maxwell V. Pritt
                                                          Maxwell V. Pritt

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